Case 5:23-cv-02228-KK-SK Document 11 Filed 11/22/23 Page 1 of 4 Page ID #:31
 1
 2
 3
 4
 5
 6
                          UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9    KERI L SILVERS                            Case No.
                                                5:23−cv−02228−KK−SK
 10                  Plaintiff(s),

 11                                             REASSIGNMENT ORDER
           v.
 12
      PAYVANTAGE LLC
 13                 Defendant(s).
 14
 15
 16
 17         Pursuant to the Order of the Chief Judge, this case has been reassigned to the
 18    calendar of the Honorable Kenly Kiya Kato. IT IS FURTHER ORDERED as
 19    follows:
 20         1.    All counsel shall familiarize themselves with the Federal Rules of Civil
 21    Procedure, the Local Rules of the Central District of California, and all applicable
 22    standing orders.1 “Counsel,” as used in this order, includes parties appearing pro se.
 23         2.    This Court does not exempt parties appearing pro se from compliance
 24    with any of the Local Rules, including Local Rules 16 and 7-3.
 25    ____________________
 26    1  Copies of the Local Rules are available on the Central District of California
       website at https://www.cacd.uscourts.gov and copies of Judge Kato’s procedures
 27    and standing orders are available at http://www.cacd.uscourts.gov/honorable-kenly-
       kiya-kato.
 28

                                               1
Case 5:23-cv-02228-KK-SK Document 11 Filed 11/22/23 Page 2 of 4 Page ID #:32
 1         3.   All matters previously referred to a magistrate judge shall remain before

 2    that magistrate judge.

 3         4.   Cases previously referred to an Alternative Dispute Resolution (“ADR”)

 4    process shall proceed under the terms of the applicable ADR local rules. Dates for

 5    previously scheduled ADR conferences shall remain in effect.

 6         5.   All deadlines associated with the case shall remain in effect, including

 7    discovery cut-off dates, pretrial conferences, and trial dates.

 8         6.   Except for matters noticed before a magistrate judge, all currently

 9    pending law and motion hearing dates are vacated. However, the opposition and

 10   reply deadlines will remain based on the previously noticed hearing date or

 11   scheduling order. Unless otherwise ordered, the motion will be taken under

 12   submission without oral argument when briefing is complete.

 13        7.   All previously scheduled scheduling conferences are vacated. However,

 14   the deadline to file the parties’ Joint Report pursuant to Federal Rule of Civil

 15   Procedure 26(f) will remain based on the previously scheduled scheduling

 16   conference. In addition, the parties may file a joint statement no later than seven

 17   (7) days from the date of this Order or with their Rule 26 Joint Report, whichever

 18   is earlier, stating (a) whether any party would like the Court to hold a telephonic

 19   scheduling conference hearing; and (b) if so, what issues they seek to have

 20   resolved at the hearing. If the parties do not file a joint statement requesting a

 21   conference, the Court will likely issue a scheduling order without a hearing.

 22        8.   The parties shall file a Joint Case Management Statement within fifteen

 23   (15) days of the date of this Order. Separate statements are appropriate if any

 24   party is proceeding without counsel. The statement should not exceed ten pages in

 25   length, should not contain attachments, and should address the following items in

 26   the following order:

 27                a.      The date the case was filed;

 28                b.        A list identifying or describing each party;


                                                 2
Case 5:23-cv-02228-KK-SK Document 11 Filed 11/22/23 Page 3 of 4 Page ID #:33
 1                c.      A brief summary of all claims, counter-claims, cross-claims,

 2         or third-party claims.

 3                d.      A brief description of the events underlying the action;

 4                e.      A description of the relief sought and the damages claimed

 5         with an explanation of how damages have been (or will be) computed;

 6                f.      The status of discovery, including any significant discovery

 7         management issues, as well the applicable cut-off dates;

 8                g.      A procedural history of the case, including any previous

 9         motions that were decided or submitted, any ADR proceedings or settlement

 10        conferences that have been scheduled or concluded, and any appellate

 11        proceedings that are pending or concluded;

 12               h.      A description of any other deadlines in place;

 13               i.      Whether the parties will consent to a magistrate judge for trial2;

 14               j.      A statement from each parties’ counsel indicating they have

 15        (1) discussed the magistrate judge consent program with their respective

 16        client(s), and (2) met and conferred to discuss the consent program and

 17        selection of a magistrate judge; and

 18               k.      Whether there exists an immediate need for a case

 19        management conference to be scheduled in the action and, if so, why the

 20        parties believe such a need exists.

 21        9.   Federal Pro Se Clinic Information:

 22        The Court notes that parties proceeding pro se, i.e., without an attorney, often

 23   face special challenges in federal court. The Public Service Law Corporation runs a

 24   free Federal Pro Se Clinic at the following federal courthouses where pro se

 25   ____________________
      2   Under 28 U.S.C. § 636, the parties may consent to have a magistrate judge
 26
      preside over all proceedings, including trial. The magistrate judges who accept
 27   those designations are identified on the Central District’s website at
      http://www.cacd.uscourts.gov/judges-requirements/court-programs/voluntary-
 28   consent-magistrate-judges, which also contains a link to the consent form CV-11D.


                                                 3
Case 5:23-cv-02228-KK-SK Document 11 Filed 11/22/23 Page 4 of 4 Page ID #:34
 1     litigants can get information and guidance:

 2          (1). Roybal Federal Building and Courthouse, 255 East Temple Street, Suite

 3          170, Los Angeles, California 90012. The Los Angeles location of the clinic

 4          operates by appointment only. Pro se litigants may schedule an appointment

 5          either by calling the clinic at (213) 385-2977, ext. 270, or submitting an

 6          internet request at http://prose.cacd.uscourts.gov/los-angeles. Clinic staff can

 7          respond to many questions with a telephonic appointment or through email. It

 8          may be more convenient to email your questions or schedule a telephonic

 9          appointment. Staff can also schedule you for an in-person appointment.

 10         (2)   George E. Brown Federal Building, 3470 Twelfth Street, Room 125,

 11         Riverside, CA 92501. Open Tuesdays and Thursdays between 09:00 AM and

 12         3:00 PM. For more information, pro se litigants may call (951) 682-7968 or

 13         visit http://prose.cacd.uscourts.gov/riverside.

 14         (3)   Ronald Reagan Federal Building and United States Courthouse, 411 W.

 15         4th Street, Room 1055, Santa Ana, CA 92701. Open Thursdays between

 16         10:00 AM and 12:00 PM and 1:30 PM and 3:30 PM. For more information,

 17         pro se litigants may call (714) 541-1010, ext. 222, or visit

 18         http://prose.cacd.uscourts.gov/santa-ana.

 19         Further information about the Federal Pro Se Clinic may be found on the

 20    Court’s website at http://court.cacd.uscourts.gov/cacd/ProSe.nsf.

 21
 22         The Court thanks the parties and their counsel for their anticipated cooperation

 23    in complying with these requirements.

 24         IT IS SO ORDERED.

 25
 26
      Dated: November 22, 2023
 27
                                                    HONORABLE KENLY KIYA KATO
 28                                                 United States District Judge


                                                4
